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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Fairly Odd Treasures, LLC                     )
                                              )
v.                                            )       Case No. 1:18-cv- 7719
                                              )
THE PARTNERSHIPS and                          )       Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Susan E. Cox
                                              )
                                              )
                                              )


                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe                 Store Name                       Merchant ID
  304    wish        huiyuanhaoyun                    5a38941d5c524432c428e661
  724    wish        yiwubianmeitradecoltd            566a408b544ab8269e43ae66
  801    wish        小旭旭                              57ee1218556b6e100473bb80


Dated: March 17, 2019
                                              Respectfully submitted,



                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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